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                                                                       June 23, 2025                        SHANGHAI
                                                                                                           SINGAPORE
                  VIA ELECTRONIC MAIL                                                                          TOKYO
                                                                                                             TORONTO

                  Cheryl Florio
                  Director of ADR Operations
                  American Arbitration Association
                  16 Market Square, 1400 16th Street, Suite 400
                  Denver, Colorado 80202
                  CherlyFlorio@adr.org

                               RE:       Lally v. Valve Corp.,
                                         Mass Arbitration Case No. 01-23-0005-8758

                  Dear Ms. Florio:

                         We write on behalf of Respondent Valve Corporation (“Valve”) in response
                  to Mason LLP’s (“Claimant’s Counsel”) letter dated June 20, 2025. Claimant’s
                  Counsel contends that Valve’s request for an invoice for Mr. Lally’s arbitration is
                  “improper.” Yet there is nothing “improper” about the issuance of an individual
                  invoice in this individual arbitration for Mr. Lally—the only claimant before the
                  AAA who was the subject of a court order compelling arbitration.

                          For context, Mr. Lally is among the seven named consumer plaintiffs in In re
                  Valve Antitrust Litigation, No. 2:21-cv-00563-JNW, who the court compelled to
                  arbitration in 2021. (See Ex. 1 (MTC Order).) Mr. Lally and his co-plaintiffs opposed
                  Valve’s motion to compel on the ground that the arbitration agreement in the then-
                  operative Steam Subscriber Agreement (“Superseded SSA”)—the very agreement
                  Mr. Lally now seeks to enforce—was unconscionable and unenforceable. The
                  plaintiffs argued that the arbitration agreement in the Superseded SSA “would deny”
                  them “the ability to seek and obtain the statutory relief available to them.” (See Ex. 2
                  at 1-2, 15-16 (MTC Opp’n).) The court granted Valve’s motion to compel arbitration
                  and stayed the litigation, but expressly reserved for the arbitrator a determination
                  with respect to enforceability of the arbitration agreement.

                          In July 2024, an arbitrator held in four arbitrations that the arbitration
                  agreement in the Superseded SSA was unenforceable. Valve then removed the
                  arbitration agreement from the Steam Subscriber Agreement. The current SSA
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  Cheryl Florio, Director of ADR Operations
  June 23, 2025
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  (“Controlling SSA”) requires all claims, including accrued and pending claims, to
  proceed in court.

          Based on these developments, all individuals compelled to arbitration except
  Mr. Lally successfully obtained a lifting of the stay so they could proceed with their
  claims in court.1 Mr. Lally is now the sole individual who has been ordered to
  arbitration and who still wants to proceed in arbitration after first alleging that the
  now superseded arbitration agreement is unenforceable and pursuing a class action
  was the superior method to resolve his claims.

          To date, the AAA has not issued an individual invoice for Mr. Lally’s
  arbitration. Valve reiterates it request that an invoice be issued solely for Mr. Lally.
  Claimant’s Counsel should not be permitted to prevent the commencement of the
  arbitration of the only individual they purport to represent who has an order
  compelling arbitration by insisting that the AAA may only issue an invoice that
  includes claimants who do not have any right to arbitrate their disputes.

          Valve reserves all rights with respect to all other arbitrations, including the
  other arbitrations that are part of the mass arbitration with case number 01-23-0005-
  8758, on the grounds that (i) the arbitration agreement in the Superseded SSA has
  been held by a AAA arbitrator to be unenforceable and (ii) there is no longer an
  agreement to arbitrate between Valve and its customers.2

                                                        Sincerely,

                                                        /s/ Michael W. McTigue Jr.

                                                        Michael W. McTigue Jr.
 cc:       All counsel of record




  1
       Mr. Lally’s co-plaintiffs are all represented by Claimant’s Counsel’s former co-counsel in these
       arbitrations, Vorys, Sater, Seymour and Pease LLP.
  2
       Based on Valve’s records it appears that Mr. Lally has not affirmatively accepted the Controlling
       SSA that requires all claims to proceed in court.
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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   WOLFIRE GAMES, LLC, SEAN COLVIN,                       CASE NO. C21-0563-JCC
     SUSANN DAVIS, DANIEL ESCOBAR,
10
     WILLIAM HERBERT, RYAN LALLY,                           ORDER
11   HOPE MARCHIONDA, and EVERETT
     STEPHENS, individually and on behalf of all
12   others similarly situated,

13                             Plaintiffs,
            v.
14

15   VALVE CORPORATION,

16                             Defendant.

17

18          This matter comes before the Court on Defendant’s motion to compel arbitration (Dkt.

19   No. 35). Having thoroughly considered the parties’ briefing and the relevant record, the Court

20   finds oral argument unnecessary and hereby GRANTS in part and DENIES in part the motion

21   for the reasons described below.

22   I.     BACKGROUND

23          Plaintiffs are PC game consumers (“Consumer Plaintiffs”) and a game publisher, Wolfire

24   Games, LLC, who allege that Defendant utilizes anticompetitive practices and its monopoly

25   powers to inflate prices on games sold and distributed through Defendant’s Steam Store and

26   Steam Gaming Platform. (See generally Dkt. No. 34.) Plaintiffs assert six Sherman Act Section 2


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 1   claims based on Defendant’s alleged actual and attempted monopolization of the PC gaming

 2   market, one Sherman Act Section 1 claim based on Defendant’s alleged unreasonable restraint of

 3   trade, and one Washington Consumer Protection Act (“CPA”) claim based on Defendant’s

 4   alleged use of unfair and deceptive practices. (Id. at 89–96.)

 5           Consumers wishing to purchase games through the Steam Store must check a box

 6   indicating their agreement to the terms and conditions of Defendant’s Steam Subscriber

 7   Agreement (“SSA”) before purchasing games. (See Dkt. No. 35 at 4–5.) The SSA includes a

 8   provision requiring arbitration of “any claim[] arising out of . . . any aspect of the relationship
 9   between us.” (Dkt. No. 36-4 at 12, 65, 78, 92, 106, 120.) As a game publisher rather than a
10   consumer, Wolfire is not a party to the SSA.
11           Defendant moves to compel arbitration on the Consumer Plaintiffs’ claims under the SSA
12   and to stay Wolfire’s claims pending resolution of those arbitration proceedings. (See generally
13   Dkt. No. 35.) Plaintiffs, in opposing, argue that (a) the SSA’s arbitration requirements are
14   substantively unconscionable; (b) some of the Consumer Plaintiffs are not a party to the SSA, so
15   not bound by the arbitration provision; and (c) staying Wolfire’s claims is not warranted. (See
16   generally Dkt. No. 51.)
17   II.     DISCUSSION

18           A.     Legal Standard

19           In a motion to compel arbitration, the Court determines “(1) whether a valid agreement to

20   arbitrate exists and, if so, (2) whether the agreement encompasses the dispute at issue.” Chiron

21   Corp. v. Ortho Diagnostic Systems, Inc., 207 F.3d 1126, 1130 (9th Cir. 2000). The party seeking

22   to compel arbitration “bears the burden of proving the existence of an agreement to arbitrate by a

23   preponderance of the evidence.” Norcia v. Samsung Telecomm. Am., 845 F.3d 1279, 1283 (9th

24   Cir. 2017) (internal quotation marks and citation omitted). If an agreement exists, the Federal

25   Arbitration Act (“FAA”) “leaves no place for the exercise of discretion by a district court, but

26   instead mandates that district courts shall direct the parties to proceed to arbitration.” Dean


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 1   Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 213 (1985) (emphasis in original). “[A]ny doubts

 2   concerning the scope of arbitrable issues should be resolved in favor of arbitration, whether the

 3   problem at hand is the construction of the contract language itself or an allegation of waiver,

 4   delay, or a like defense to arbitrability.” Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth,

 5   473 U.S. 614, 626 (1985).

 6          B.      Unconscionability

 7          Section 2 of the Federal Arbitration Act (FAA) makes agreements to arbitrate “valid,

 8   irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the
 9   revocation of any contract.” 9 U.S.C. § 2. The FAA reflects a “liberal federal policy favoring
10   arbitration.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011). However, Section 2
11   provides that arbitration agreements may be invalidated by generally applicable contract
12   defenses, including unconscionability. Id.
13          Here, the question is whether Plaintiffs’ unconscionability challenge should be
14   determined by the Court or by an arbitrator. According to the SSA, the arbitrator must resolve
15   any “disputes” regarding “this agreement” in conformity with AAA rules (See Dkt. No. 36-4 at
16   12, 65, 78, 92, 106, 120.) AAA rules give an arbitrator “‘the power to rule on his or her own
17   jurisdiction, including any objections with respect to the existence, scope or validity of the
18   arbitration agreement.’” Oracle Am., Inc. v. Myriad Group A.G., 724 F.3d 1069, 1074 n.1 (9th

19   Cir. 2013) (citing AAA Commercial Arbitration Rule 7(a)). Therefore, unless Plaintiffs

20   challenge the SSA’s delegation provision, specifically, as unconscionable, the Court must

21   enforce the parties’ agreement to have an arbitrator decide the broader question of whether the

22   arbitration clause itself is unconscionable. See Brennan v. Opus Bank, 796 F.3d 1125, 1132–34

23   (9th Cir. 2015) (citing Rent-A-Center, West, Inc. v. Jackson, 561 U.S. 63, 65 (2010)). Here,

24   Plaintiffs do not meaningfully challenge the delegation provision as unconscionable. (See

25   generally Dkt. Nos. 51, 65.) Accordingly, the question of unconscionability should be

26   determined in arbitration.


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 1          C.      Parties Subject to the SSA

 2          Plaintiffs next assert that two Consumer Plaintiffs, Susann Davis and Hope Marchionda,

 3   are not parties to the SSA and not bound by its arbitration provision because they did not

 4   purchase games directly through the Steam Store. (Dkt. No. 51 at 23–24.) Instead, according to

 5   their briefing, Ms. Davis and Ms. Marchionda’s respective children purchased the games using

 6   their parents’ credit card information. (Id.) In support of their position, Plaintiffs rely on another

 7   case involving Defendant’s SSA—G.G. v. Valve Corp., 799 F. App’x 557, 558–59 (9th Cir.

 8   2020). (See Dkt. No. 51 at 23–24.)
 9          In G.G., the Ninth Circuit held that parents in a similar position to Ms. Davis and Ms.
10   Marchionda were not bound by the SSA. See 799 F. App’x at 559. But G.G. reached this
11   conclusion based on a theory of equitable estoppel. See Appellant’s Reply Brief at 13 G.G. v.
12   Valve Corp., 799 F. App’x 557 (No. 19-35345). That is not the argument presented to the Court
13   here, which is based on agency theory. (See Dkt. No. 56 at 9–11.)
14          According to the complaint here, Ms. Davis and Ms. Marchionda “purchased PC Desktop
15   Games through the Steam Store” for their children. (See Dkt. No. 34 at 10–11.) As such, the
16   question is whether they are bound by the SSA under an agency theory. See, e.g., Nicosia v.
17   Amazon.com, Inc., 384 F. Supp. 3d 254, 272 (E.D.N.Y. 2019); Oahn Nguyen Chung v.
18   StudentCity.com, Inc., 2013 WL 504757, slip op. at 2 (D. Mass. 2013). The Court finds that,

19   under an agency theory, Ms. Davis and Ms. Marchionda effectively appointed their children as

20   their agents when they purchased games on their parents’ behalf using the parents’ credit card

21   information and their own Steam accounts. See Mundi v. Union Sec. Life Ins. Co., 555 F.3d

22   1042, 1045 (9th Cir. 2009) (general description of agency theory). Without this appointment, the

23   parents would not have standing for the claims asserted here.

24          Accordingly, all of the Consumer Plaintiffs in this action, including those parents who

25   purchased games through their children, are bound by the SSA’s arbitration clause. Plaintiffs’

26   motion to compel arbitration of the Consumer Plaintiffs’ claims is thus GRANTED.


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 1            D.     Claims Not Subject to Arbitration

 2            Defendant asks the Court to stay Wolfire’s claims, which are not subject to the SSA’s

 3   arbitration clause. (Dkt. No. 35 at 13–18.) The decision whether to do so “rests with the sound

 4   discretion of the district court.” United Commc’n. Hub, Inc. v. Qwest Commc’ns, Inc., 46 F.

 5   App’x. 412, 415 (9th Cir. 2002) (citing Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,

 6   460 U.S. 1, 20 (1983)). Here, the Court concludes that a stay is not warranted. Specifically, a

 7   stay would prejudice Wolfire, which alleges ongoing harm from Defendant’s allegedly unlawful

 8   practices. (See Dkt. No. 51 at 26 (citing Dkt. No. 34).) And Defendant fails to identify how it
 9   would be meaningfully prejudiced absent a stay. See Dependable Hwy. Exp., Inc. v. Navigators
10   Ins. Co., 498 F.3d 1059, 1066 (9th Cir. 2007) (litigation costs alone are not sufficient to warrant
11   a stay). Finally, staying Wolfire’s claims would not promote judicial economy, as they would
12   eventually need be addressed by this Court—the arbitrator’s findings and conclusions on the
13   consumers’ claims would not bind the Court in how it addresses Wolfire’s claims.
14            Accordingly, Defendant’s motion to stay Wolfire’s claims is DENIED.
15   III.     CONCLUSION

16            For the foregoing reasons, Defendant’s motion to compel arbitration (Dkt. No. 35) is

17   GRANTED in part and DENIED in part. Claims brought by Consumer Plaintiffs are STAYED

18   pending arbitration. The remaining claims may proceed. The Clerk is DIRECTED to renote

19   Plaintiffs’ motion to dismiss (Dkt. No. 37) to today’s date, October 25, 2021, as it is now ripe for

20   the Court’s consideration.

21            DATED this 25th day of October 2021.




                                                           A
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24
                                                           John C. Coughenour
25                                                         UNITED STATES DISTRICT JUDGE
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 1                                                                         HON. JOHN C. COUGHENOUR

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 8
                                           UNITED STATES DISTRICT COURT
 9                                   FOR THE WESTERN DISTRICT OF WASHINGTON
                                                    AT SEATTLE
10

11 Wolfire Games, LLC, Sean Colvin, Susann              Case No. 2:21-cv-00563-JCC
   Davis, Daniel Escobar, William Herbert, Ryan
12 Lally, Hope Marchionda, Everett Stephens,            PLAINTIFFS’ OPPOSITION TO
   individually and on behalf of all others             DEFENDANT VALVE CORPORATION’S
13 similarly situated,                                  MOTION TO COMPEL ARBITRATION
14                           Plaintiffs,
                                                        NOTE ON MOTION CALENDAR:
15               v.                                     September 17, 2021
16 Valve Corporation,                                   ORAL ARGUMENT REQUESTED
17                           Defendant.
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                                                                      QUINN EMANUEL URQUHART & SULLIVAN
                                                                          1109 FIRST AVENUE, SUITE 210
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 1               Plaintiffs Wolfire Games, LLC, Sean Colvin, Susann Davis, Daniel Escobar, William

 2 Herbert, Ryan Lally, Hope Marchionda, and Everett Stephens (“Plaintiffs”) submit this opposition

 3 to Defendant Valve Corporation’s (“Valve”) motion to compel arbitration (Dkt. 35) (“Mot.”).

 4 I.            PRELIMINARY STATEMENT
 5               Plaintiffs’ Complaint explains at length how Valve, the purveyor of the Steam online

 6 platform, is a monopolist in two separate PC desktop game-related markets: PC Desktop Gaming

 7 Platforms and PC Desktop Game Distribution. For nearly two decades, Valve has charged game

 8 publishers an industry-high commission for PC desktop game sales on the Steam Store. Valve’s

 9 competitors have long tried to steer market share away from it by, inter alia, offering lower

10 commissions. Had Valve not interfered with those efforts, real price competition from those different

11 stores would have led to lower commissions (benefiting game publishers), and lower end prices for

12 PC desktop games (benefiting game purchasers). Valve, however, imposed restraints on game

13 publishers that eliminated their ability to encourage such competition, leading to higher prices for

14 all. On this basis, Plaintiffs bring federal antitrust and Washington Consumer Protection Act

15 (“CPA”) claims, which seek damages for Valve’s anticompetitive conduct, and an injunction against

16 Valve’s market-wide anticompetitive practices.

17               If Valve’s motion to compel arbitration is granted, however, it would deny consumers the

18 ability to seek and obtain the statutory relief available to them for Valve’s monopolization and unfair
19 business practices, because substantive unconscionability pervades Valve’s Steam Subscriber

20 Agreement (“SSA”). Valve attempts to sidestep this issue by relying on its previous, partial success

21 on a motion to compel arbitration in G.G. v. Valve Corp. (“G.G. II”), 799 F. App’x 557 (9th Cir.

22 2020), but G.G. is not the panacea Valve assumes.

23               As an initial matter, the SSA’s arbitration provisions are unenforceable under federal and

24 Washington state law. This substantive unconscionability—analyzed from the ex ante perspective

25 of a reasonable consumer reviewing the SSA when the contract is signed (as opposed to Valve’s ex

26 post rationale after litigation is commenced)—arises from several provisions. First, the SSA

27 ostensibly waives “private attorney general action[s],” which include federal antitrust and CPA

28 claims. But the U.S. Supreme Court and Washington Supreme Court are clear that a contract cannot
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 1 prospectively waive those claims. The SSA also waives consumers’ ability to seek representative

 2 injunctive relief broader than their own personal claim. Federal and Washington state law each hold

 3 that waiving such statutory remedies is substantively unconscionable.1

 4               This substantive unconscionability requires denying the motion to compel for two

 5 independent reasons. First, Section 11.E of the SSA contains a “poison pill” that requires

 6 invalidating all of the SSA’s arbitration provisions if any ruling of unenforceability would permit

 7 “representative arbitration.” Because proceeding with either of Plaintiffs’ antitrust and CPA claims

 8 and the market-remedying injunctive relief they seek would be “representative,” the poison pill

 9 applies and this dispute must be litigated in this Court. Moreover, and in any event,

10 unconscionability permeates the SSA to such a degree that, even if this Court found the poison pill

11 did not apply, Valve’s entire arbitration agreement is unenforceable under Washington state law.

12               Next, as the Ninth Circuit held (and as Valve tries to avoid acknowledging, compare Mot. at

13 1, 2, 8; with id. at 9 n.2), parents whose children signed up for Steam, but who did not otherwise

14 use Steam themselves, are not subject to the SSA and need not arbitrate any disputes with Valve.

15 G.G. II, 799 F. App’x at 557; see also Mot. at 9 n.2 (conceding this was the holding in G.G. II). The

16 Non-Subscriber Plaintiffs—see Consolidated Amended Class Action Complaint (Dkt. 34) (“CAC”)

17 ¶ 303—fall into this category and thus G.G. II itself supports denying Valve’s motion as to them.

18               Even if these fundamental problems did not require denying Valve’s motion as to the non-
19 Wolfire Plaintiffs, Plaintiff Wolfire unquestionably is not subject to any arbitration agreement. Valve

20 nevertheless argues that this Court should stay Wolfire’s claims pending all the consumer

21 arbitrations, even though Wolfire would not be bound by those arbitrations. Such a request is not

22 sanctioned by law and, indeed, would be inefficient and unduly delay Wolfire’s day in court.

23               For these reasons, this Court should deny Valve’s motion in its entirety.

24

25

26   1
    In the time since this Court decided G.G. v. Valve, the Ninth Circuit has clarified that the FAA
27 does not preempt state law prohibitions against waiving representative injunctive relief that is
   guaranteed to plaintiffs. G.G. v. Valve Corp. (“G.G. I”), 2019 WL 1354152 (W.D. Wash. Mar. 26,
28 2019); Blair v. Rent-A-Ctr., Inc., 928 F.3d 819, 824 (9th Cir. 2019).
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 1 II.           BACKGROUND
 2               A.          Plaintiffs Bring Federal Antitrust And Washington State CPA Claims
                             Challenging Valve’s Anticompetitive Practices
 3

 4               Defendant Valve operates Steam, an online platform for PC desktop games consisting of (1)

 5 an online store (the Steam Store), and (2) a gaming platform. CAC ¶¶ 1-22. Plaintiffs include

 6 Wolfire, a game publisher that develops and sells games on the Steam Store (CAC ¶ 24), and

 7 individuals who paid for games or other content on the Steam Store. Some of the consumer Plaintiffs

 8 are parents whose children—not the parents—signed up for and used Steam. Id. ¶¶ 27, 30, 303.

 9 Others are Steam subscribers who used Steam themselves. Id. ¶¶ 25-26, 28-29, 31.

10               Plaintiffs allege that Valve is a monopolist in two relevant markets—PC Desktop Gaming

11 Platforms and PC Desktop Game Distribution—and has for years anticompetitively used that power

12 to prevent price competition from other online PC desktop game storefronts. Id. ¶¶ 59-205. Those

13 restraints, Plaintiffs allege, have maintained the commissions Valve charges game publishers to

14 distribute their PC desktop games on Steam at artificially high levels and led to higher consumer

15 prices for PC desktop games. Id. ¶¶ 206-227. Thus, both game publishers and consumers have

16 directly paid Valve supracompetitive prices. Id. ¶¶ 266-301.

17               On the basis of these allegations, Plaintiffs bring federal antitrust claims (id. ¶¶ 317-385)

18 and a claim under Washington’s CPA, RCW 19.86 (id. ¶¶ 386-392). Plaintiffs seek not only the
19 overcharge damages Valve caused, but also a market-wide injunction prohibiting Valve from

20 engaging in the same anticompetitive behavior in the future. Id. at p. 93.

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 1               B.          Relevant Steam Subscriber Agreement Provisions
 2               In its opening brief, Valve includes some of the SSA’s relevant arbitration provisions, but

 3 not all. Section 11.A is the first such provision Valve cites, which states in full:

 4               YOU AND VALVE AGREE TO RESOLVE ALL DISPUTES AND CLAIMS
                 BETWEEN US IN INDIVIDUAL BINDING ARBITRATION. THAT INCLUDES,
 5               BUT IS NOT LIMITED TO, ANY CLAIMS ARISING OUT OF OR RELATING
                 TO: (i) ANY ASPECT OF THE RELATIONSHIP BETWEEN US; (ii) THIS
 6               AGREEMENT; OR (iii) YOUR USE OF STEAM, YOUR ACCOUNT,
                 HARDWARE OR THE CONTENT AND SERVICES. IT APPLIES REGARDLESS
 7               OF WHETHER SUCH CLAIMS ARE BASED IN CONTRACT, TORT, STATUTE,
                 FRAUD, UNFAIR COMPETITION, MISREPRESENTATION OR ANY OTHER
 8               LEGAL THEORY, AND INCLUDES ALL CLAIMS BROUGHT ON BEHALF OF
                 ANOTHER PARTY.
 9

10 Boyd Decl. (Dkt. 36), Ex. E, (“SSA”) § 11.A (emphasis added). Section 11.D, entitled “Individual

11 Binding Arbitration Only,” defines Section 11.A’s use of the term “Individual Binding Arbitration.”

12 It states, with relevant parts for this opposition emphasized:

13               YOU AND VALVE AGREE NOT TO BRING OR PARTICIPATE IN A CLASS
                 OR REPRESENTATIVE ACTION, PRIVATE ATTORNEY GENERAL ACTION,
14               WHISTLE BLOWER ACTION, OR CLASS, COLLECTIVE, OR
                 REPRESENTATIVE ARBITRATION, EVEN IF AAA’S RULES WOULD
15               OTHERWISE ALLOW ONE. THE ARBITRATOR MAY AWARD RELIEF ONLY
                 IN FAVOR OF THE INDIVIDUAL PARTY SEEKING RELIEF AND ONLY TO
16               THE EXTENT OF THAT PARTY’S INDIVIDUAL CLAIM. You and Valve also
                 agree not to seek to combine any action or arbitration with any other action or
17               arbitration without the consent of all parties to this Agreement and all other actions
                 or arbitrations.
18
                 This Agreement does not permit class, collective, or representative arbitration. A
19               court has exclusive authority to rule on any assertion that it does.

20               Valve included both of these provisions in its opening brief. What Valve left out, however,

21 is that Section 11.E, entitled “What Happens if Part of Section 11 is Found Illegal or Unenforceable,”

22 includes a “poison pill” that requires litigation in court if any ruling would permit, inter alia,

23 “representative arbitration”:

24               If any part of Section 11 . . . is found to be illegal or unenforceable, the rest will
                 remain in effect . . . , except that if a finding of partial illegality or unenforceability
25               would allow class, or representative arbitration, all of Section 11 will be
                 unenforceable and the claim or dispute will be resolved in court.
26

27               Valve similarly left out that Section 10 includes a clause stating that the prevailing party of

28 any dispute between the parties “will be entitled to attorneys’ fees and expenses (except arbitration
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 1 – Section 11.C).” Thus, if a party convinces a court, such as this one, that a dispute is not subject to

 2 arbitration, then Valve seeks to impose the risk of attorneys’ fees in any litigation, even despite the

 3 “American rule” of litigation costs (i.e., each party bears their own fees and costs), and that

 4 consumer protection claims like the federal antitrust and Washington state CPA claims asserted here

 5 include mandatory attorneys’ fee awards only against the defendant if it loses.

 6               C.          Wolfire’s Claims Are Not Subject To Any Arbitration Agreement And Do Not
                             Depend On The Consumer Plaintiffs
 7

 8               Notably, Valve does not argue or adduce any facts indicating that Plaintiff Wolfire, a game

 9 publisher, is subject to an arbitration agreement. That is no accidental omission; Wolfire is unaware

10 of any such arbitration agreement, nor any equivalent type of agreement for any other game

11 publisher selling Steam-enabled PC desktop games. Similarly, Valve does not identify any sort of

12 relationship between Wolfire (or any other game publisher) such that they would be bound by any

13 arbitrations with Steam subscribers. Again, Wolfire is unaware of any such relationships.

14 III.          ARGUMENT
15               A.          Valve’s Contractual Provision Barring Injunctive Relief Is Substantively
                             Unconscionable
16
                             1.          Legal Standard
17

18               Section 2 of the Federal Arbitration Act provides that written arbitration agreements “shall
19 be valid, irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the

20 revocation of any contract.” 9 U.S.C. § 2. “The final clause of § 2, its savings clause, permits

21 agreements to arbitrate to be invalidated by generally applicable contract defenses, such as fraud,

22 duress, or unconscionability, but not defenses that apply only to arbitration or that derive their

23 meaning from the fact that an agreement to arbitrate is at issue.” Sakkab v. Luxottica Retail N. Am.,

24 Inc., 803 F.3d 425, 432 (9th Cir. 2015) (quoting AT&T Mobility LLC v. Concepcion, 563 U.S. 333,

25 339 (2011)) (internal quotations omitted).

26               Under Washington law, which the SSA chooses for any dispute (see SSA § 10), “[t]he
27 existence of an unconscionable bargain is a question of law for the courts.” Zuver v. Airtouch

28 Commc’ns, Inc., 153 Wn.2d 293, 302-303 (2004). “Agreements may be either substantively or
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 1 procedurally unconscionable. Substantive unconscionability involves those cases where a clause or

 2 term in the contract is one-sided or overly harsh. Substantive unconscionability alone is sufficient

 3 to support a finding of unconscionability.” McKee v. AT&T Corp., 164 Wn.2d 372, 397 (2008)

 4 (internal citations omitted).

 5                                       (a)      Federal law prohibits prospective waivers of antitrust remedies

 6               Binding precedent is clear that an arbitration agreement cannot thwart the “effective

 7 vindication” of federal statutory rights, including remedies a plaintiff may pursue for federal

 8 antitrust violations. As the Supreme Court has explained, if an arbitration agreement would operate

 9 “as a prospective waiver of a party’s right to pursue statutory remedies for antitrust violations, then

10 we would have little hesitation in condemning the agreement as against public policy.” Mitsubishi

11 Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 637 n.19 (1985) (emphasis added). In

12 Am. Express Co. v. Italian Colors Restaurant, the Supreme Court then stated more broadly that the

13 FAA does not require enforcement of a provision in an arbitration agreement that “forbid[s] the

14 assertion of certain [federal] statutory rights” or that “eliminates … [the] right to pursue [a] statutory

15 remedy.” 570 U.S. 228, 236 (2013).

16               The Clayton Act provides private plaintiffs the ability to seek a market-wide injunction
17 against further anticompetitive conduct; i.e., an injunction that remedies a defendant’s market-wide

18 (as opposed to plaintiff-specific) anticompetitive practices. 15 U.S.C. § 26. It is only by preserving
19 this broad, non-plaintiff-specific injunctive right that arbitration agreements satisfy the effective

20 vindication doctrine. See, e.g., In re Currency Conversion Fee Antitrust Litig., 265 F. Supp. 2d 385,

21 415 (S.D.N.Y. 2003) (arbitration allowed plaintiff to effectively vindicate their antitrust claims

22 because the rules allowed for full injunctive relief).

23                                       (b)      Under Washington law, an arbitration agreement that prevents one
                                                  party from invoking statutory remedies is substantively
24                                                unconscionable
25

26               The Washington Supreme Court has ruled on multiple occasions that a contract waiving
27 statutory remedies—particularly any granted by the CPA—is substantively unconscionable. For

28 example, the McKee court held that arbitration provisions whose effect was to limit the statute of
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 1 limitations and attorneys’ fee remedy of the CPA were substantively unconscionable. 164 Wn.2d at

 2 399-400. In its earlier Zuver opinion, the court similarly found that an arbitration provision

 3 preventing only a plaintiff-employee from seeking punitive or exemplary damages was

 4 substantively unconscionable, because the provision’s effect was one-sided and harsh—i.e., it

 5 allowed the defendant-employer to seek “significant legal recourse” against the plaintiff-employee

 6 for the employer’s most likely claims, but not vice versa (including the CPA). 153 Wn.2d at 315-

 7 319. This precedent is fully consistent with the Supreme Court’s FAA jurisprudence, which explains

 8 that “[b]y agreeing to arbitrate a statutory claim, a party does not forgo the substantive rights

 9 afforded by the statute; it only submits to their resolution in an arbitral, rather than a judicial, forum.”

10 Mitsubishi, 473 U.S. at 627-628; see also Al-Safin v. Cir. City Stores, Inc., 394 F.3d 1254, 1261-

11 1262 (9th Cir. 2005) (applying this precedent in conjunction with Washington state law to invalidate

12 entire arbitration agreement for substantive unconscionability).

13                           2.          The SSA’s Prohibitions Against Private Attorney General Actions and
                                         Full Injunctive Relief Are Substantively Unconscionable
14

15               Under the above law, Section 11.D is substantively unconscionable for two core reasons.
16 First, by ostensibly waiving “private attorney general action[s],” Section 11.D acts as a prospective

17 waiver of the specific federal antitrust and Washington CPA claims Plaintiffs bring here, which is

18 disallowed by controlling law. Second, by ostensibly limiting arbitral relief to that which is “only in
19 favor of the individual party seeking relief and only to the extent of that party’s individual claim,”

20 Section 11.D prohibits consumers from seeking full injunctive relief. This limitation on statutory

21 remedies available under both the Clayton Act and Washington CPA disproportionately benefits

22 Valve in a one-sided and harsh manner (since it could never seek similar relief) and immunizes it in

23 arbitration from a core remedy implemented at the federal and state level to protect both consumers

24 and the public.2

25

26
     2
27   The unconscionability challenges in G.G. focused on procedural unconscionability and different
   substantive unconscionability arguments. Neither this Court nor the Ninth Circuit addressed any of
28 the substantive unconscionability questions raised here.
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 1                                       (a)      It is unconscionable for Valve to preclude Plaintiffs from bringing
                                                  their private attorney general antitrust and CPA claims
 2

 3               As previously noted, the SSA chooses Washington law for any disputes, see SSA § 10, and
 4 Section 11.D waives all “private attorney general action[s].” “Washington follows the ‘objective

 5 manifestation theory’ of contract interpretation, under which the focus is on the reasonable meaning

 6 of the contract language to determine the parties’ intent.” Viking Bank v. Firgrove Commons 3, LLC,

 7 183 Wn. App. 706, 712-13 (2014) (citing Hearst Commc’ns, Inc. v. Seattle Times Co., 154 Wn.2d

 8 493, 503 (2005)). This means courts “generally give words in a contract their ordinary, usual, and

 9 popular meaning unless the entirety of the agreement clearly demonstrates a contrary intent.” Viking

10 Bank, 183 Wn. App. 706, 712-13; see also Cambridge Townhomes, LLC v. Pac. Star Roofing, Inc.,

11 166 Wn.2d 475, 487, 209 P.3d 863, 871 (2009), as corrected (Sept. 22, 2009) (citing Corbray v.

12 Stevenson, 98 Wn.2d 410, 415, 656 P.2d 473 (1982)) (“Words in a contract should be given their

13 ordinary meaning.”).

14               It is therefore necessary to determine the “ordinary, usual, and popular” meaning of the
15 phrase “private attorney general action.” That term unquestionably includes Sherman Act claims.

16 Javelin Corp. v. Uniroyal, Inc., 546 F.2d 276, 279-80 (9th Cir. 1976) (a private antitrust plaintiff

17 sues “not only on its own behalf, but as a ‘private attorney general’ representing the public interest.

18 Congress established the private remedy to enlist the public as enforcers of the antitrust laws.”); see
19 also Illinois Brick Co. v. Illinois, 431 U.S. 720, 746 (1977) (noting that the Clayton Act “elevat[ed]

20 direct purchasers [e.g., Plaintiffs here] to a preferred position as private attorneys general”).

21               An action asserting a CPA claim is similarly a “private attorney general action.” As the
22 Washington Supreme Court has held, “Private actions by private citizens are now an integral part of

23 CPA enforcement. Private citizens act as private attorneys general in protecting the public’s interest

24 against unfair and deceptive acts and practices in trade and commerce.” Scott v. Cingular Wireless,

25 160 Wn.2d 843, 854 (2007), overruled on other grounds as stated in Coneff v. AT&T Corp., 673

26 F.3d 1155 (9th Cir. 2012) (emphasis added).

27               In holding that it would have “little hesitation” invalidating any contract that prospectively
28 waives federal antitrust claims, the Supreme Court cited a long line of cases exactly to that effect.
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 1 Mitsubishi, 473 U.S. at 637 n.19 (collecting cases). For its part, the Washington Supreme Court

 2 found contract terms limiting only a portion of CPA claims substantively unconscionable. See

 3 McKee, 164 Wn.2d at 399-400; Zuver, 153 Wn.2d at 315-319. Applying those holdings, it is

 4 unquestionable that, if presented with a complete waiver of a CPA claim, the Washington Supreme

 5 Court would similarly have little hesitation finding such a waiver unconscionable.

 6               For these reasons, Section 11.D’s attempt to waive private attorney general actions is

 7 unenforceable and illegal, because the ordinary meaning of that phrase includes claims that both the

 8 U.S. and Washington Supreme Courts unequivocally state a contract may not waive.

 9               Valve may argue in reply that the SSA does not waive Plaintiffs’ antitrust and CPA claims,

10 as demonstrated by Valve’s motion to compel those claims to arbitration. However, the relevant

11 inquiry is objective and ex ante—i.e., what is the “ordinary, usual, and popular meaning” of the

12 phrase “private attorney general action.” Viking Bank, 183 Wn. App. at 712-13 (citing Hearst, 154

13 Wn.2d at 503). Such an objective, ex ante analysis plainly indicates that Section 11.D purports to

14 waive antitrust and CPA claims altogether, not simply subject them to arbitration. Valve cannot avoid

15 an unconscionability finding by arguing it will not subjectively interpret the agreement in that way

16 now. See Section III.A.2.c infra (discussing that Washington does not permit after-the-fact waivers

17 of unconscionable provisions).3

18                                       (b)      It is unconscionable for Valve to limit Plaintiff’s injunctive remedies
                                                  in arbitration for their antitrust and CPA claims
19
                                                  (i)    Plaintiffs statutorily may seek representative injunctions that
20                                                       remedy public wrongs
21

22               Both the Clayton Act and Washington CPA permit plaintiffs to seek injunctive relief that is
23 representative in nature; i.e., relief meant to benefit the public at large rather than just the plaintiff

24 personally. Courts analyzing each of these statutes and the claims they allow recognize that such

25
     3
26   To the extent Valve alternatively argues that Section 11.D only waives California Private
   Attorney General Act (“PAGA”) claims, the broader contract does not support such a reading and,
27 in any event, even that interpretation would be unconscionable because it violates California’s
   Iskanian and McGill rules, which the Ninth Circuit recently applied in the Sakkab and Blair
28 opinions to invalidate arbitration agreements.
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 1 public-oriented, representative injunctions are a necessary tool to help regulate and remedy unfair

 2 business practices.

 3               For example, courts are clear that a Sherman Act remedy must seek to “unfetter a market
 4 from anticompetitive conduct,” to “terminate the illegal monopoly, deny to the defendant the fruits

 5 of its statutory violation, and ensure that there remain no practices likely to result in

 6 monopolization in the future.” United States v. Microsoft Corp., 253 F.3d 34, 103 (D.C. Cir.), cert.

 7 denied, 534 U.S. 952 (2001) (quoting and citing Ford Motor Co. v. United States, 405 U.S. 562, 577

 8 (1972)) (emphasis added); see also Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 119 (2d

 9 Cir. 2005) (antitrust class action brought by private plaintiff where injunctive relief component of

10 settlement was valued at $25-87 billion); Regents of Univ. of California v. Am. Broad. Companies,

11 Inc., 747 F.2d 511, 521 (9th Cir. 1984) (granting preliminary injunction in an antitrust case because

12 “the public interest is served by preserving the competitive influence of consumer preference in the

13 college broadcast market”). Washington state law regarding the CPA is similarly clear: “Consumers

14 bringing actions under the CPA do not merely vindicate their own rights; they represent the public

15 interest and may seek injunctive relief even when the injunction would not directly affect their own

16 private interests.” Scott, 160 Wn.2d at 854 (citations omitted) (emphasis added).

17               Here, the core of Plaintiffs’ claims is that Valve engages in market-wide misconduct that

18 causes supracompetitive prices and other anticompetitive effects. CAC ¶¶ 3, 16–17, 24–31, 124–
19 125, 206, 268, 277, 283, 312, 316. This is conduct that does not just affect the individual Plaintiffs

20 in their individual capacity. Id. Accordingly, any injunctive remedy will necessarily involve a

21 prohibition against engaging in the same practices with respect to all game publishers and Steam

22 consumers; not just the individual claimants.

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 1                                                (ii)   The Ninth Circuit has recently invalidated multiple
                                                         arbitration agreements, based on state law virtually identical
 2                                                       to Washington law
 3

 4               In its motion, Valve puts substantial emphasis on a prior 2017 decision by this Court,

 5 claiming that the “agreement to arbitrate is just as enforceable here as the Steam users’ agreement

 6 was in G.G. v. Valve.” E.g., Mot. at 8. Valve glosses over, however, that the Ninth Circuit more

 7 recently made clear—under state law nearly identical to Washington law—that Valve’s contractual

 8 bar on full injunctive relief is unenforceable.4

 9               In Blair, the Ninth Circuit considered an arbitration provision with a “Requirement of

10 Individual Arbitration” that is substantively identical to Section 11.D of the SSA:

11               You and RAC agree that arbitration shall be conducted on an individual basis, and
                 that neither you nor RAC may seek, nor may the Arbitrator award, relief that would
12               affect RAC account holders other than you. There will be no right or authority for
                 any dispute to be brought, heard, or arbitrated as a class, collective, mass, private
13
                 attorney general, or representative action. ...
14

15 Blair, 928 F.3d at 823 (emphasis added). Applying California state law that “[w]aiver of the right to

16 seek public injunctive relief under [the statutes underlying plaintiff’s claims] would seriously

17 compromise the public purposes the statutes were intended to serve”—which is identical to

18 Washington state law holding that waivers of even portions of CPA claims are substantively
19 unconscionable, see Section III.A.1, supra—the Ninth Circuit concluded that the provision cited

20 above was an impermissible waiver and therefore unenforceable, and that the FAA did not preempt

21 such invalidation even though the relief in question was “representative.” Id. at 824; see also id. at

22 828-829 (noting that public injunctive requests, which are “brought for the benefit of the public,”

23 are “representative”); Sakkab, 803 F.3d at 434-439 (invalidating waivers of “representative PAGA

24 claims” under similar California law prohibiting such waivers).

25

26

27   Valve also mentions that the Ninth Circuit “considered” the SSA in G.G. II “as recently as last
     4

   year,” Mot. at 8, but omits that the plaintiffs there did not challenge Valve’s illegal prohibition on
28 the pursuit of injunctive relief.
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 1               Like the arbitration provision at issue in Blair, Section 11.D of the SSA states that the

 2 “ARBITRATOR MAY AWARD RELIEF ONLY IN FAVOR OF THE INDIVIDUAL PARTY

 3 SEEKING RELIEF AND ONLY TO THE EXTENT OF THAT PARTY’S INDIVIDUAL

 4 CLAIM.” (emphasis added). Such language explicitly attempts to bar injunctive relief of a public,

 5 representative nature. See, e.g., Blair, 928 F.3d 819; Cottrell v. AT&T Inc., 2020 WL 2747774, at *5

 6 (N.D. Cal. May 27, 2020) (finding that arbitration agreement prevented an arbitrator from awarding

 7 public injunctive relief where it stated the arbitrator could award “declaratory or injunctive relief

 8 only in favor of the individual party seeking relief and only to the extent necessary to provide relief

 9 warranted by that party’s individual claim”) (emphasis added).

10               Indeed, Valve concedes this point in its motion. In connection with its request for a stay

11 against Wolfire’s claims (discussed further at Section III.C.2 infra), Valve tries to argue there might

12 be inconsistent results with respect to the injunctive relief Wolfire and any arbitrating consumer

13 plaintiffs seek because only Wolfire (who is not subject to the SSA) can seek injunctive relief in

14 favor of “the public.” See Mot. at 14-15 (contrasting publishers’ claims, where they can obtain

15 injunctive relief “as to the class and the public,” with consumers’ claims, which can only seek

16 individual injunctive relief). Valve’s concession that it believes the consumer plaintiffs cannot seek

17 public injunctive relief ends the inquiry on the proper interpretation of Section 11.D’s remedy

18 limitations.
19               But even if that were not the case, the text surrounding that limitation—which must be

20 considered to contextualize the language5—states repeatedly that any such relief cannot be

21 “representative”; i.e., cannot represent interests other than the plaintiff’s own. Section 11.D thus

22 clearly precludes plaintiffs from seeking representative injunctive relief, such as injunctions aimed

23 at remedying market-wide unfair business practices of the type directly at issue in this lawsuit. See

24 CAC ¶¶ 22, 311, 392. Federal and Washington state law fundamentally disallow Valve’s approach.

25 See Section III.A.1, supra. Finally, it is one-sided, because Valve cannot bring either an antitrust or

26

27  See, e.g., Viking Bank, 183 Wn. App. at 713 (“[W]e view the contract as a whole, interpreting
     5

   particular language in the context of other contract provisions.”) (citing Weyerhaeuser Co. v. Com.
28 Union Ins. Co., 142 Wn.2d 654 (2000)).
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 1 Consumer Protection Act claim against its consumers. Accordingly, just like in Blair, the SSA’s

 2 attempt to limit Plaintiffs’ ability to seek full injunctive relief is unconscionable and unenforceable

 3 under federal and state law.

 4                                       (c)      Valve’s likely counterarguments are meritless

 5               In reply to the above points, Valve may assert three arguments. First, Valve may argue in

 6 reply that the FAA preempts courts from invalidating arbitration agreements on the basis that those

 7 agreements deprive plaintiffs of claims or remedies available under substantive law. For example,

 8 in Concepcion, the Supreme Court noted that the FAA’s purpose is to promote bilateral arbitration

 9 and, with it, the choice for dispute resolution with less “procedural formality” than traditional

10 litigation. Concepcion, 563 U.S. at 349-350. If a state’s law prohibits waiving certain arbitral

11 procedures (e.g., class arbitration) that would otherwise mandate inclusion of and/or require formal

12 notice procedures for parties not directly involved in the arbitration (e.g., absent class members),

13 the FAA preempts that rule. Id. at 349-352.

14               The Ninth Circuit subsequently observed, however, that “[w]e do not read Concepcion to

15 require the enforcement of all waivers of representative claims in arbitration agreements.” Sakkab,

16 803 F.3d at 436. If a rule against certain types of representative claim waiver is applicable across all

17 contracts and does not mandate procedural formalities antithetical to bilateral arbitration, then the

18 FAA does not preempt such a rule. See id. (enforcing state-law rule against waiving California
19 Private Attorney General Act claims); see also Blair, 928 F.3d at 825-827 (enforcing state-law rule

20 against waiving public injunctive relief requests). Allowing Plaintiffs to pursue antitrust claims in

21 arbitration or granting the injunctive relief guaranteed to Plaintiffs under federal antitrust and

22 Washington State law would not be antithetical to bilateral arbitration. Therefore, under Blair, this

23 court is not preempted from declining to enforce Valve’s unconscionable contractual language

24 purporting to waive Plaintiffs’ antitrust claims and associated injunctive relief.

25               Second, Valve may invoke DiCarlo v. MoneyLion, Inc., 988 F.3d 1148 (9th Cir. 2021), which

26 found that an arbitration agreement requiring an “individual lawsuit” did not categorically waive a

27 plaintiff’s right to seek public injunctive relief. The key to MoneyLion, however, was that the

28 arbitration agreement allowed an arbitrator “to award all remedies available in an individual
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 1 lawsuit . . . , including, without limitation, . . . injunctive relief.” Id. at 1157. Because proceeding

 2 in an individual capacity did not otherwise limit the plaintiff’s rights, this broad language left

 3 untouched the statutory remedies for their claims, which included public injunctive relief. Id. In

 4 contrast, Section 11.D allows arbitral relief “only to the extent of [the plaintiff’s] individual claim.”

 5 This language and the remainder of Section 11.D make clear that any such relief cannot be

 6 representative in any way (i.e., for the benefit of public rather than just the plaintiff). See Cottrell,

 7 2020 WL 2747774, at *5. Thus, Section 11.D’s waiver, contrary to MoneyLion, does not preserve

 8 the broad injunctive relief available to Plaintiffs under the relevant statutes.

 9               Third, Valve may argue that it will choose not to interpret Section 11.D to prohibit full

10 injunctive relief in arbitration. Unconscionability in Washington state, however, is an ex ante

11 analysis. Absent rare circumstances not present here, a party may not moot an unconscionability

12 challenge with an after-the-fact waiver of the unconscionable provisions. Gandee v. LDL Freedom

13 Enter., Inc., 176 Wn.2d 598, 608 (2013). To allow otherwise “would encourage rather than

14 discourage one-sided agreements and would lead to increased litigation.” Id. Indeed, this Court may

15 easily conclude that such a promise would not be in earnest, given the lengths Valve goes to argue

16 the SSA’s arbitration provisions are “consumer-friendly.” Mot. at 6, 7.

17               Valve’s attempt to strip Plaintiffs of their statutory rights under federal and Washington state

18 law must be denied. Both make clear that plaintiffs pursuing antitrust and/or CPA claims have the
19 right to obtain injunctive relief that benefits not only themselves but also the public broadly. Under

20 binding and controlling precedent—including Blair’s application of virtually identical state law on

21 these issues—this Court must protect those statutory rights. Valve’s bar on the pursuit of full

22 injunctive relief is substantively unconscionable and unenforceable.

23                           3.          The SSA’s Unconscionability Renders This Court the Only Forum For
                                         All of Plaintiffs’ Disputes With Valve
24

25               As discussed above, Valve’s attempt to prohibit consumers from pursuing the private
26 attorney general actions Plaintiffs bring here, as well as the full injunctive relief afforded to Plaintiffs

27 by the Clayton Act and Washington CPA, is substantively unconscionable and unenforceable under

28 controlling U.S. Supreme Court, Ninth Circuit and Washington state precedent. Valve may argue,
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 1 however, that this Court can sever those unconscionable attempts to limit consumers’ rights and still

 2 compel arbitration. This argument fails for two independent reasons: (1) the SSA contains a “poison

 3 pill” requiring that Plaintiffs’ representative antitrust and CPA claims be resolved in this Court; and

 4 (2) in any event, unconscionability permeates the SSA’s arbitration provisions, rendering it entirely

 5 unenforceable.

 6                                       (a)      Section 11.E’s “poison pill” requires litigation in this Court

 7               Section 11.E states that “if a finding of partial illegality or unenforceability would allow

 8 class, collective, or representative arbitration, all of Section 11 will be unenforceable and the claim

 9 or dispute will be resolved in court.” Courts recognize that a “poison pill” like this renders any

10 severance analysis moot; by contract, it requires this Court to invalidate the entire arbitration

11 agreement and permit the plaintiff to proceed in court. See, e.g., Cottrell, 2020 WL 2747774, at *6-

12 *7; Lotsoff v. Wells Fargo Bank, N.A., 2019 WL 4747667, at *2-*3 (S.D. Cal. Sept. 30, 2019);

13 Roberts v. AT&T Mobility LLC, 2018 WL 1317346, at *7 (N.D. Cal. Mar. 14, 2018).

14               The relevant inquiry is therefore whether a finding of partial unenforceability would allow

15 “representative arbitration.” As discussed above, federal antitrust and Washington state CPA claims

16 are fundamentally representative in nature. See Sections III.A.2.(b)-(c), supra. By bringing such

17 claims, therefore, Plaintiffs would engage in representative arbitration.

18               But one need not look solely to the law for this point; the SSA itself states Plaintiffs’ claims
19 would constitute representative claims in arbitration. In Section 11.D, the SSA repeatedly delineates

20 between “representative,” “class,” and “collective” claims when defining Individual Binding

21 Arbitration. That difference in terms is important for proper contract interpretation. Cambridge

22 Townhomes, 166 Wn.2d at 487 (citing Wagner v. Wagner, 95 Wn.2d 94, 101, 621 P.2d 1279 (1980))

23 (“Courts should not adopt a contract interpretation that renders a term ineffective or meaningless.”).

24 The SSA provides specific examples of representative actions, including “private attorney general

25 action[s]” and “whistle blower action[s],” each of which is legally representative in nature (and

26 obviously not a class or collective claim). See Section III.A.1.(a), supra (regarding private attorney

27 general actions); Karstetter v. King Cty. Corr. Guild, 193 Wn.2d 672, 685, 444 P.3d 1185 (2019)

28 (“Washington’s whistle-blower provisions are intended to encourage those with knowledge of
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 1 institutional wrongs to come forward in order to safeguard the public.”) (emphasis added). Section

 2 11.D’s prohibition of relief beyond “the extent of [a] party’s claim” similarly makes clear that

 3 Plaintiffs bringing claims seeking injunctive relief like here would engage in representative

 4 arbitration. The SSA thus reinforces what the law also makes clear: federal antitrust and Washington

 5 CPA claims are representative and therefore bringing them in arbitration would constitute

 6 “representative arbitration,” especially when Plaintiffs request the statutory injunctive relief

 7 available for those claims. Accordingly, Section 11.E’s poison pill contractually requires litigating

 8 in this Court.

 9                                       (b)      Substantive unconscionability permeates the SSA’s arbitration
                                                  provisions, rendering the entire arbitration agreement unenforceable
10

11               Even if Section 11.E’s poison pill did not apply, unconscionability permeates the SSA’s
12 arbitration agreement. See McKee, 164 Wn.2d at 402 (excising entire dispute resolution section of

13 AT&T consumer contract because “when unconscionable provisions so permeate an agreement, we

14 strike the entire section or contract”) (collecting cases); Gandee, 176 Wn.2d at 605-608 (same).

15               Section 11.A requires “ALL DISPUTES BETWEEN US” to proceed “IN INDIVIDUAL
16 BINDING ARBITRATION.” Section 11.D’s definition of “Individual Binding Arbitration” contains

17 four substantive sentences, three of which include unconscionable provisions (i.e., unconscionable

18 waiver of private attorney general actions, unconscionable waiver of all representative actions, and
19 unconscionable waiver of statutory injunctive relief that goes beyond the extent of a party’s

20 individual claim). In a nearly identical situation, with unconscionable provisions in three out of an

21 arbitration clause’s four substantive sentences, the Washington Supreme Court found that such

22 pervasiveness requires invalidating the entire arbitration agreement. Gandee, 176 Wn.2d at 607.

23               But Section 11 is not the end of the SSA’s pervasive substantive unconscionability. An even
24 more insidious provision lurks in Section 10’s “loser pays” clause, which seeks to impose fee-

25 shifting in any litigation (as opposed to arbitration) between the parties. The Washington Supreme

26 Court has held that such a provision is substantively unconscionable in the context of CPA claims,

27 because those claims already fee-shift for successful plaintiffs, and a similar requirement for a

28 prevailing defendant “effectively chill[s]” the plaintiff’s ability to bring the claim. Gandee, 176
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 1 Wn.2d at 605-606.6

 2               Section 10, however, is worse than the clause in Gandee because it seeks to punish
 3 consumers for successfully challenging the validity of the SSA’s arbitration provisions—even if

 4 those provisions are deemed substantively unconscionable. Only consumers that successfully

 5 oppose a motion to compel arbitration (like Valve’s motion here) would proceed in court, and

 6 therefore be subject to Section 10’s loser pays provision. Although Valve might argue in reply that

 7 the fee-shifting requirement is mutual, this ignores that Valve is a multi-billion-dollar company and

 8 Section 10’s obvious intent is to dissuade consumer-initiated challenges to Section 11’s onerous

 9 arbitration provisions, as well as any consumer-initiated litigation of CPA, federal antitrust, or any

10 other claims. This is inherently one-sided and harsh, and thus substantively unconscionable. Id.

11               For these reasons, unconscionability permeates the SSA’s dispute resolution provisions. A

12 consumer cannot avoid unconscionable waivers and, if they have the temerity to successfully

13 challenge those provisions, they are then at risk of having to pay Valve’s attorneys for the privilege

14 of proceeding in court. Such permeation warrants excising all of Section 11, as well as Section 10’s

15 loser pays provision. Id. at 607-608 (holding entire arbitration clause unenforceable) McKee, 164

16 Wn.2d at 402 (same, for entire dispute resolution section).

17               B.          The Non-Subscriber Class Members Are Not Subject To Arbitration, Per The
                             Ninth Circuit’s Holding in G.G. v. Valve
18
19               Even if this Court requires other individual plaintiffs to arbitrate their claims, it cannot force
20 parents who did not agree to the SSA (e.g., Plaintiffs Susann Davis and Hope Marchionda) into

21 arbitration. The Ninth Circuit recently rejected similar attempts by Valve to force claims by parents

22 who were not parties to the SSA into arbitration, holding that parents who “are not signatories to the

23 Subscriber Agreement . . . are not bound by the arbitration agreement . . . .” G.G. II, 799 F. App’x

24 at 558 (vacating in part G.G. I., 2019 WL 1354152). The Ninth Circuit’s holding in this regard is

25 equally applicable here, a point that Valve concedes in a footnote. See Mot. at 9 n.2. Thus, because

26

27
     6
    The same logic would apply to federal antitrust claims, which impose statutory fee-shifting for
28 successful plaintiffs.
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 1 the Ninth Circuit has already found that parents who do not agree to the SSA are not bound to its

 2 arbitration provision, this Court cannot force the non-signatory plaintiffs here, Susann Davis and

 3 Hope Marchionda, into arbitration.

 4               Valve argues that, because Ms. Davis and Ms. Marchionda pleaded that they “purchased PC

 5 Desktop Games through the Steam Store for [their] minor child[ren],” Mot. at 10–11 (quoting CAC

 6 ¶¶ 27, 30), they somehow agreed to the SSA, Mot. at 11 (citing Boyd Decl. ¶ 6). Valve claims that,

 7 in order to purchase a game on the Steam platform, a purchaser must click a box agreeing to the

 8 SSA—and thus agrees to arbitrate her claims. Mot. at 5. But that is not what happened here.

 9               Both Ms. Davis and Ms. Marchionda provided their credit card information to their children,

10 who then independently entered that information into the Steam Store to purchase PC Desktop

11 Games.7 Davis Decl. at ¶¶ 5–6, Marchionda Decl. at ¶¶ 5–6. Both mothers subsequently received

12 credit card invoices for these purchases and paid those invoices out of their own funds. Davis Decl.

13 at ¶¶ 7–8, Marchionda Decl. at ¶¶ 7–8. Neither, however, sat down at a computer and “click[ed] the

14 box,” as Valve claims (without support). Davis Decl. at ¶ 3, Marchionda Decl. at ¶¶ 3–4.

15               Given these facts, and because neither Ms. Davis nor Ms. Marchionda invoke the SSA for

16 their statutory claims, they are entitled to proceed here. G.G. II, 799 F. App’x at 558 (“The parents

17 are not signatories to the Subscriber Agreement, and they are not bound by it . . .” because they are

18 not “seeking to enforce the Subscriber Agreement” and are not “pursu[ing] claims based on
19 provisions of the Subscriber Agreement but rather [are pursuing] claims sounding in tort or based

20 on statutory violations.”) (emphasis added); see also, e.g., B.F. v. Amazon.com Inc., -- Fed. App’x -

21 -, 2021 WL 1593003 (9th Cir. April 23, 2021) (non-signatories not bound by a contract’s arbitration

22 clause because “a party cannot be required to submit to arbitration any dispute which he has not

23 agreed so to submit,” except in limited circumstances not applicable here). This Court should follow

24 the Ninth Circuit’s holdings and deny Valve’s attempt to compel Ms. Davis and Ms. Marchionda to

25 arbitration.

26
     7
27  Neither Ms. Davis nor Ms. Marchionda has a Steam account. Davis Decl. at ¶ 2, Marchionda
   Decl. at ¶ 2. As Defendant tacitly acknowledges, the only avenue to force them into arbitration is
28 because they purchased PC Desktop Games for their children. Mot. at 10–11.
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 1               C.          Staying Wolfire’s Claims Would Be Inappropriate and Inefficient
 2                           1.          Legal Standard
 3               In general, the party seeking a stay bears the burden of establishing it is appropriate to do so.

 4 See Ohio Envtl. Council v. U.S. Dist. Court, 565 F.2d 393, 396 (9th Cir. 1977) (citing Landis v. N.

 5 Am. Co., 299 U.S. 248, 255 (1936)). When some claims are subject to arbitration and others are not,

 6 there is a “preference for proceeding with the non-arbitrable claims when feasible.” United

 7 Commc’ns Hub. Inc. v. Qwest Commc’ns Inc., 46 Fed. App’x 412, 414-15 (9th Cir. 2002); Klay v.

 8 All Defendants, 389 F.3d 1191, 1204 (11th Cir. 2004) (“[C]ourts generally refuse to stay proceedings

 9 of nonarbitrable claims when it is feasible to proceed with the litigation.”).

10               Under these circumstances, this Court must consider the interest of justice and benefits to

11 the court, the prejudice to the plaintiff of granting the stay, and the prejudice to the defendant that

12 would be caused by not granting the stay. CMAX v. Hall, 300 F.2d 265, 268 (9th Cir. 1962); see also

13 United Commc’ns, 46 F. App’x at 415. Courts should not stay proceedings simply to manage their

14 own docket. See Dependable Highway Express, Inc. v. Navigators Ins. Co., 498 F.3d 1059, 1066

15 (9th Cir. 2007). Similarly, courts should not stay proceedings if the stay “would result in undue

16 delay.” Id. (citing Landis, 299 U.S. at 256).

17                           2.          A Stay Would Deprive Wolfire and Other Game Publishers of a Forum
                                         to Litigate Their Dispute, Even While Suffering Ongoing Harm
18
19               Wolfire and similarly-situated game publishers—which currently sell PC desktop games
20 subject to Valve’s continuing anticompetitive practices—will experience continued harm without

21 recourse if their claims are stayed during any consumer arbitration. These injuries include

22 continuing to pay supracompetitive commissions, being forced to offer their games on a lower-

23 quality Steam platform, and lacking the ability to steer consumers to lower-cost, rival storefronts

24 (thereby disciplining Valve’s unfair practices). For this reason alone, Valve’s requested stay must be

25 denied. See Lockyear v. Mirant Corp., 398 F.3d 1098, 1112 (9th Cir. 2005) (reversing stay where,

26 inter alia, affected citizens would be harmed by the “ongoing illegal concentration of market power

27 that threatens economic harm to electricity consumers”); see also East West Bank v. Bingham, 992

28 F. Supp. 2d 1130, 1135 (W.D. Wash 2014) (declining to stay claims against defendants not subject
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 1 to arbitration even if it “would be a waste of judicial resources, would likely lead to a duplication of

 2 effort and risk inconsistent decisions”); Simitar Entm’t Inc. v. Silva Entm’t Inc., 44 F. Supp. 2d 986,

 3 997-98 (D. Minn. 1999) (staying only arbitrable claims, not non-arbitrable ones); Cargill Ferrous

 4 Int’l et al. v. The M/V Anatoli, in rem, et al., 935 F. Supp. 833, 837-38 (E.D. La. 1996) (the FAA’s

 5 “goal of ensuring judicial enforcement of privately made agreements to arbitrate is not advanced by

 6 forcing a party that has not agreed to arbitrate to delay litigation of its claims”); Fallon v. Locke,

 7 Liddell & Sapp LLP, 2007 WL 2904052, at *4 (N.D. Cal. Oct. 2, 2007) (rejecting stay).

 8               In response, Valve argues (at 15) that “Wolfire Games does not allege any ongoing harm.”

 9 That is unequivocally false. As Wolfire details, Valve is engaged in a long-running, continuing

10 monopolistic scheme. CAC ¶¶ 2, 317–376. The Complaint further explains in specific detail the

11 ongoing harm that Wolfire and other publishers suffer from Valve’s conduct, such as the

12 aforementioned supracompetitive commissions on every game sale and in-game purchase, lower-

13 quality platform, and inability to discipline Valve through steering customers to other storefronts.

14 Id. ¶¶ 6-7, 268, 270-73, 277, 287-88. Wolfire also alleges that Valve’s illegal conduct reduces

15 publishers’ output, id. ¶¶ 206-13, and that, but-for Valve’s illegal tying and PMFN, a competitive

16 distribution market would emerge, leading to lower commissions in the Steam Store, which would

17 permit publishers like Wolfire to offer lower retail prices for gamers while still making more money

18 from sales overall (due to both lower commissions and higher overall sales). Id. ¶ 283.
19                           3.          Staying Wolfire’s Claims Will Not Promote Judicial Economy; It Will
                                         Simply Delay a Case That Will Unquestionably Proceed Here
20

21               As Valve concedes (at 12), Wolfire and other game publishers have not signed arbitration
22 agreements or class action waivers. As a result, their class claims must proceed in this Court

23 eventually. Thus, by staying the publishers’ claims, there will be no benefit “measured in terms of

24 the simplifying or complicating of issues, proof, and questions of law.” Babare v. Sigue Corp., 2020

25 WL 8617424, at *1 (W.D. Wash. Sept. 30, 2020).

26               Valve claims (at 14) that any individual arbitrations it conducts with game purchasers “will
27 consider and decide all of the underlying questions of liability and damages that Plaintiffs allege are

28 common to the putative class as a whole.” But even if that were true (it is not), those findings would
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 1 only bind the claimant who brought the specific arbitration at issue, with no preclusive effect on

 2 Wolfire or any other game publisher, or any of the claimants in other individual arbitrations. See

 3 Wright & Miller, 18B Fed. Prac. & Proc. §4475.1 (“The most basic rule is that a nonparty is not

 4 bound . . . A court should not be as ready to bind a nonparty by an arbitration award as by a

 5 judgment.”) (citing In re Kaplan, 143 F.3d 807, 814 (3d Cir. 1998) (Alito, J.)); see also G.G. II, 799

 6 F. App’x at 558 (a district court can confirm an arbitral award only against parties who have agreed

 7 to arbitrate) (quoting 9 U.S.C. § 9). It is also unclear why those many individual arbitrations—and

 8 not Wolfire’s class action—should be the claims to proceed first.

 9               Nor, as Valve contends (at 14), does proceeding with Wolfire’s class claims raise a

10 “predominan[ce]” problem, because common questions will still predominate over the remaining

11 publisher class members, even if some consumer class members were forced into arbitration and are

12 therefore removed from the class. Thus, “the questions of law or fact common to class members”

13 will be addressed in this case. Fed. R. Civ. P. 23(b)(3).

14               Valve further claims (at 15) that proceeding with Wolfire’s class claims would “create[e] a

15 significant risk of inconsistent results.” Not so. As noted, any arbitral findings on consumer claims

16 are only binding on the individual consumer, and therefore cannot lead to inconsistent results—at

17 least, none that create any res judicata or collateral estoppel issues for this Court with respect to

18 game publishers. Indeed, to the extent Valve is worried about inconsistent results, that is a problem
19 of Valve’s own creation resulting from its own SSA purporting to preclude class or representative

20 actions, and its own motion to compel arbitration. That is not a basis to stay Wolfire’s unaffected

21 claims. Congdon v. Uber Techs., Inc., 226 F. Supp. 3d 983, 991 (N.D. Cal. 2016) (“the potential for

22 inconsistent results in this forum is insufficient to overcome” non-arbitrating plaintiffs’ right to

23 proceed with their claims).

24               Moreover, Valve has argued that there may be a “heightened risk” of inconsistent results

25 given the potential for conflicting injunctive relief. Mot. at 14-15. This is hypocritical, however,

26 given that, via the SSA, Valve is seeking to deny the consumer plaintiffs the full representative

27 injunctive relief afforded to them by their statutory claims. See supra at Section III.A.2. If the SSA

28 were followed to the letter, it is not clear what injunctive relief individual consumers could obtain,
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 1 but it would not involve significant changes to Valve’s business practices, as Valve claims (at 15).

 2 In near the same breath, Valve makes clear that, due to the SSA’s limitations on representative

 3 injunctive relief, only Wolfire could obtain injunctive relief as to “the public”; i.e., relief that would

 4 force Valve to cease its anticompetitive and unfair business practices. Id. Therefore, any risk that

 5 Wolfire’s injunctive relief might be inconsistent with the result of an individual arbitration is in fact

 6 minimal.

 7                           4.          Valve Identifies No Cognizable Prejudice From Litigating With Wolfire

 8               Valve articulates no undue prejudice from Wolfire’s claims moving forward. Valve’s
 9 principal argument—see Mot. at 15—is that it will bear costs to litigate with Wolfire; but that is not

10 grounds for a stay. Renegotiation Bd. v. Bannercraft Clothing Co., 415 U.S. 1, 24 (1974) (denying

11 stay and noting “[m]ere litigation expense, even substantial and unrecoupable cost, does not

12 constitute irreparable injury”); see also FTC v. Standard Oil Co. of Cal., 449 U.S. 232, 244 (1980)

13 (the “expense and annoyance of litigation is part of the social burden of living under government”)

14 (citation omitted). Moreover, those are costs that will occur even if this Court grants a stay; because

15 the consumer arbitrations could not generate findings or holdings that have any preclusive effect on

16 Wolfire’s claims, Wolfire will still be able to litigate its claims unencumbered after the stay ends,

17 and Valve would incur the costs it describes at that point in the future.

18               Nor will Valve suffer prejudice from continuing in this Court if some consumer claims
19 proceed to arbitration. For its own reasons, Valve chose to not include any arbitration agreement in

20 its publisher contracts. As a result, Valve must defend at least game publishers’ claims in this Court.

21 That litigation may occur simultaneously with arbitration does not cause Valve any undue prejudice.

22 See Dependable Highway Express, 498 F.3d at 1066 (“being required to defend a suit if the stay is

23 vacated does not constitute a clear case of hardship or inequity”) (reversing stay).

24                           5.          Valve’s Various Case Citations Do Not Support a Stay Under These
                                         Facts
25

26               Finally, none of Valve’s cited authorities suggest that a stay is appropriate. Valve relies
27 heavily on cases where the plaintiff signed an arbitration agreement, and the issue for the court was

28 whether to stay those same plaintiffs’ non-arbitrable claims, because the arbitration or other forum’s
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 1 analysis could substantially impact (if not completely eliminate) the non-arbitrable claims. See

 2 Harvey v. Joyce, 199 F.3d 790, 795-96 (5th Cir. 2000) (staying plaintiffs’ claims against non-

 3 signatory defendant CTC because “the claims asserted against CTC are based on the same operative

 4 facts and are inherently inseparable from the claims against Joyce”); Sunlight Prod. Techs. v.

 5 MPOWERD, 2015 WL 12655479, at *5-*8 (C.D. Cal. Sept. 17, 2015) (staying plaintiffs’ claims

 6 against defendant when plaintiffs were involved in arbitration against defendant); T-Mobile USA,

 7 Inc. v. Montijo, 2012 WL 6194204, at *6 (W.D. Wash. Dec. 11, 2012) (staying plaintiff’s litigation

 8 claims in favor of plaintiff’s arbitration claims); Bates v. Morgan Stanley Smith Barney LLC, 2010

 9 WL 3341819, at *6-*7 (E.D. Cal. Aug. 25, 2010) (same); Morales v. Lexxiom, 2010 WL 11507515,

10 at *10-*14 (C.D. Cal. Jan. 29, 2010) (same); Naini v. King Co. Pub. Hosp. Dist. No. 2, 2020 WL

11 468910 (W.D. Wash. Jan. 29, 2020) (staying plaintiffs’ litigation claims in favor of hospital’s

12 administrative proceedings). In contrast, Valve concedes here that Wolfire and other game publishers

13 have never signed an arbitration agreement.

14               Valve’s other core citations involve wholly dissimilar situations, such as where the non-

15 movant did not oppose a stay pending arbitration,8 or where an upcoming Supreme Court decision

16 could greatly affect several aspects of all asserted claims.9 In truth, Ballard v. Corinthian Colleges,

17 Inc., 2006 WL 2380668 (W.D. Wash. Aug. 16, 2006), and Bischoff v. DirecTV, Inc., 180 F. Supp. 2d

18 1097 (C.D. Cal. 2002), are Valve’s only potentially analogous cases. Ballard, 2006 WL 2380668, at
19 *1; Bischoff, 180 F. Supp. 2d at 1114-1115. Notably, neither court explained how judicial economy

20 was served via those stays, nor why they were appropriate given the movant did not show how the

21 arbitrations could have preclusive effect on the non-arbitrating plaintiffs.

22

23   8
     In re Samsung Galaxy Smartphone Mktg. & Sales Practices Litig., 298 F. Supp. 3d 1285, 1304
24 (N.D. Cal. 2018) (“In the instant case, Plaintiffs do not dispute that the Court should stay all
   proceedings if it orders arbitration as to any Plaintiff.”).
25 9
     In re DirecTV Early Cancellation Fee Mktg. & Sales Practices Litig., 2010 WL 11469932 (C.D.
26 Cal. Nov. 15, 2010) (granting a stay where “the Supreme Court’s decision may have a substantial
   impact on this case” and “the delay here is likely to be relatively short”); Babare, 2020 WL
27 8617424 (explaining “a stay will promote the orderly course of justice because it will allow the
   Supreme Court to settle a question of law that is central to this litigation”).
28
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 1               Both cases are also over fourteen years old. In subsequent cases, courts have noted that stays

 2 of non-arbitrable claims typically are only appropriate where the arbitrable and non-arbitrable

 3 claims are “inherently inseparable,” such as where the arbitrable and non-arbitrable claims involve

 4 claims by the same plaintiff for the same injury against different defendants. See Congdon, 226 F.

 5 Supp. 3d at 990-91 (collecting cases).10 Where, like here, the movant is unable to show the claims

 6 are inherently inseparable—particularly against plaintiffs without arbitration agreements—then a

 7 stay is inappropriate. Id. at 991; East West Bank, 992 F. Supp. 2d at 1135; see also Kater v. Churchill

 8 Downs Inc., 2019 WL 3944323, at *2 (W.D. Wash. Aug. 21, 2019) (observing “a stay [pending

 9 arbitration] is more appropriate when another defendant did not agree to arbitrate but less

10 appropriate when another plaintiff did not”).11

11 IV.           CONCLUSION
12               For the foregoing reasons, Plaintiffs respectfully request that this Court deny Valve’s Motion

13 to Compel Arbitration in its entirety.

14

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   10
      Congdon rejects Ballard’s reasoning on the grounds that “proceeding with the litigation as to
23 the [non-arbitration] Plaintiffs in this case would not result in a waste of judicial resources”

24 because “regardless of the outcome of the arbitration, the claims of the [non-arbitration] Plaintiffs
   will need to be litigated in this court.” Congdon, 226 F. Supp. 3d at 991. The same is true here.
25 11 Boeing v. Agric. Ins. Co., 2005 WL 2276770 (W.D. Wash. Sept. 29, 2005), another of Valve’s

26 citations, is an example of a case with inherently inseparable claims, because there were no
   “means of determining AIG’s and Gulf’s potential exposure” as cross-claim plaintiffs and co-
27 defendants “without deciding the core dispute between Federal and Boeing” which was subject to
   arbitration. Id. That is not true here. The non-arbitration Plaintiffs’ claims can be fully resolved
28 without analysis of the arbitration Plaintiffs’ claims.
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 1                                                CERTIFICATE OF SERVICE
 2               I hereby certify that on August 30, 2021, I caused a true and correct copy of the foregoing

 3 to be filed in this Court’s CM/ECF system, which sent notification of such filing to counsel of

 4
     record.
 5
                 DATED August 30, 2021
 6

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 8                                                        /s/ Alicia Cobb
                                                          Alicia Cobb, WSBA #48685
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